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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


MELISSA MARTINEZ,
         Plaintiff,

       vs.                                                    CIV NO. 1:20-00991 WJ/KRS

KILOLO KIJAKAZI,
Acting Commissioner of Social Security,
           Defendant.

                                  ORDER FOR EXTENSION

       Upon consideration of Defendant’s Unopposed Motion for an Extension of Time

(Doc. 31) to file a response to Plaintiff’s Motion to Reverse and Remand for Payment of

Benefits, or in the Alternative, for Rehearing, with Supporting Memorandum (Doc. 30), the

Court having reviewed the motion and being otherwise fully advised, FINDS that the motion is

well taken and is GRANTED.

       IT IS THEREFORE ORDERED that Defendant shall have until November 8, 2021, to

file a response, and Plaintiff shall have until November 22, 2021, to file a reply.



                                              ___________________________________
                                              KEVIN R. SWEAZEA
                                              United States Magistrate Judge

SUBMITTED AND APPROVED BY:

Electronically submitted 10/06/2021
KIRSTEN WESTERLAND
Special Assistant United States Attorney

Electronically approved 10/06/2021
JUSTIN S. RAINES
Attorney for Plaintiff
